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                            United States District Court
                                      for the
                            Southern District of Florida

   United States of America, Plaintiff   )
                                         )
   v.                                    )
                                           No. 13-60029-Cr-Scola
                                         )
   Herve Wilmore, Defendant              )

    Amended Order on the Defendant’s Motion for Compassionate Release
         The Defendant Herve Wilmore moved to reduce his sentence pursuant to
  18 U.S.C. § 3582(c)(1)(A)(i) on June 8, 2020. The Court previously denied
  Wilmore’s motion in its Order dated July 9, 2020 (ECF No. 725). Since the Court
  issued its Order, Wilmore filed a reply in support of his motion (ECF No. 726).
  Therefore, the Court issues this Amended Order to take into account his
  recently-filed reply. In his reply, Wilmore reiterates the arguments from his
  motion. The Court is not still persuaded by these arguments, and therefore,
  denies Wilmore’s motion for release (ECF No. 720).
         A jury found Wilmore guilty of eight counts of wire fraud and aggravated
  identity theft. The Court sentenced the Defendant to 240 months in prison for
  his crimes. The Eleventh Circuit affirmed the Defendant’s conviction and
  sentence. Now Wilmore argues that he is entitled to compassionate release
  because (1) he was convicted of “mail fraud,” which is different than the offense
  that was charged in the indictment and (2) his medical condition puts him at
  risk of contracting a severe case of Covid-19.
         First, Wilmore’s arguments that he was convicted of the wrong offense are
  not grounds for relief under the CARE Act. To the extent that Wilmore argues in
  his supplement that he is innocent, his argument also fails because the evidence
  of guilt presented at trial (which this Court presided over) was overwhelming.
  (See Supplement, ECF No. 724 at 2.)
         Second, Wilmore’s has not shown that his hypertensive disorder
  constitutes extraordinary and compelling circumstances warranting his release
  after serving only 30% of his sentence. If an inmate has a chronic medical
  condition that has been identified by the Centers for Disease Control as elevating
  an inmate’s risk of becoming seriously ill from COVID-19, that condition may
  constitute “extraordinary and compelling reasons” for his release, especially for
  inmates over the age of 65. Wilmore is a 36-year-old inmate suffering from
  “hypertensive disorder.” (ECF No. 720 at 1.) Wilmore does not provide details
  regarding his disorder’s severity, nor does he attach medical records to
  demonstrate that he has the disease. He has not sufficiently demonstrated that
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  he hypertension, nor that it is sufficiently severe to compel his release after
  serving a fraction of his sentence. Although people with hypertension or high
  blood pressure are at a statistically greater risk of succumbing to the
  coronavirus, this does not entitle every inmate with higher-than-average blood
  pressure to be released—as hypertension is common and not always severe.
  Therefore, Wilmore cannot show that extraordinary and compelling reasons
  support his release and, because he is 36-years-old, his risk of developing a
  severe case is diminished. Cf. United States v. Oreste, Case No. 14-cr-20349 (S.D.
  Fla. Apr. 6, 2020) (Scola, J.) (granting compassionate release for the Defendant
  with end-stage renal failure, heart failure, diabetes, and a history of respiratory
  illnesses after he completed 60% of his sentence).
         Moreover, the 18 U.S.C. § 3553(a) factors weigh against his release. Under
  the relevant Sentencing Guidelines Policy Statement, the Court “may reduce a
  term of imprisonment . . . if, after considering the factors set forth in 18 U.S.C.
  § 3553(a), to the extent they are applicable, the court determines that . . .
  extraordinary and compelling reasons warrant a reduction.” § 1B1.13. Here, the
  needs for specific and general deterrence weigh against his release, particularly
  in light of his leadership role in this large-scale fraud with over $20 million in
  losses. At the time of sentencing, the bottom of Wilmore’s guideline range was
  348 months, but the Court varied far below the guidelines and sentenced him to
  240 months. Given this variance, it is particularly inappropriate for him to be
  released after serving only 6 years of the 20-year sentence. In short, the
  applicable 18 U.S.C. § 3553(a) factors—such as the nature and circumstances
  of the offense, the history and characteristics of the offender, the need to ensure
  adequate punishment, deterrence, and community protection—do not warrant
  Wilmore’s release after serving merely 30% of his sentence.
         Therefore, Wilmore’s motion for release (ECF No. 720) is denied.

        Done and ordered at Miami, Florida, on July 14, 2020.


                                              ________________________________
                                              Robert N. Scola, Jr.
                                              United States District Judge
